                                               United States Bankruptcy Court
                                                    District of Arizona
In re:                                                                                                     Case No. 18-07157-DPC
Mark J Swartz                                                                                              Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0970-2                  User: learys                       Page 1 of 1                          Date Rcvd: Jul 17, 2018
                                      Form ID: ntcdefw                   Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 19, 2018.
db             +Mark J Swartz,   3186 E. Stella Lane,   Phoenix, AZ 85016-2344

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 19, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 17, 2018 at the address(es) listed below:
              KYLE A. KINNEY   on behalf of Debtor Mark J Swartz kyle@kinneylaw.net, paulahillock@kinneylaw.net
              ROBERT A. MACKENZIE   ram@ramlawltd.com, az26@ecfcbis.com
              U.S. TRUSTEE   USTPRegion14.PX.ECF@USDOJ.GOV
                                                                                            TOTAL: 3
FORM ntcdefw
REVISED 12/01/2015



                             UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF ARIZONA

In re:                                                         Case No.: 2:18−bk−07157−DPC

    Mark J Swartz                                              Chapter: 7
    3186 E. Stella Lane
    Phoenix, AZ 85016
    SSAN: xxx−xx−0736
    EIN:

Debtor(s)


               NOTICE TO DEBTOR(S)OF INCOMPLETE OR DEFICIENT FILINGS
                AND THAT DEBTOR(S) MUST FILE ALL REQUIRED DOCUMENTS
             OR THEIR CASE WILL BE DISMISSED WITHOUT FURTHER NOTICE

       NOTICE IS GIVEN THAT the above debtor(s) have filed a voluntary petition and that debtor(s) have not filed
the documents checked below or have filed them without all the required information. Failure to timely file all
required documents with all required information and within the time periods stated will result in the dismissal of this
case.


         A typed list of creditors in the required format of a master mailing list required to be filed within seven days
         of the date of the filing of the bankruptcy petition by Local Rule of Bankruptcy Procedure 1007−1 and
         Federal Rule of Bankruptcy Procedure 1007.


         A verified Statement of Social Security Number required to be submitted within seven days of the date of
         the filing of the bankruptcy petition by Local Rule of Bankruptcy Procedure 1007−1 and Federal Rule of
         Bankruptcy Procedure 1007. Must be filed by both debtors if a joint petition was filed.


         The petition indicates that the briefing from an approved credit counseling agency was received 180 days prior
         to filing and that the certificate of completion was attached. However, the certificate was not attached as
         indicated.


         The petition indicates that the briefing from an approved credit counseling agency was received 180 days prior
         to filing, but that the debtor did not have the certificate of completion at the time of filing. A copy of the
         certificate and payment plan, if any, must be filed within 14 days of the filing of the petition.



                                   − − − NOTICE CONTINUES ON NEXT PAGE − − −
     The petition indicates that exigent circumstances exist pursuant to 11 USC Section 109(h)(3); which prevented
     the debtor from obtaining credit counseling and that the circumstances merit a temporary waiver, or that the
     debtor is not required to receive a briefing about credit counseling pursuant to 11 USC Section 109(h)(4). These
     indications require further explanation in the form of a separate sheet or motion.


     Schedules of Assets and Liabilities required to be filed within 14 days of the date of the filing of the
     bankruptcy petition by Federal Rule of Bankruptcy Procedure 1007 and 11 USC Section 521(a)(1).


     Statement of Financial Affairs required to be filed within 14 days of the date of the filing of the bankruptcy
     petition by Federal Rule of Bankruptcy Procedure 1007 and 11 USC Section 521(a)(1).


     If a Chapter 7 debtor's schedules of assets and liabilities includes debts which are secured by property of the
     estate, then a Statement of Intentions is required to be filed within 30 days after the date of the filing of the
     chapter 7 petition or on or before the date of the meeting of creditors, whichever is earlier.


     Chapter 7 Statement of Your Current Monthly Income and/or Chapter 7 Means Test Calculation is required to
     be filed within 14 days of the date of the filing of the bankruptcy petition by Federal Rule of Bankruptcy
     Procedure 1007 and 11 USC Section 521(a)(1). If your debts are not primarily consumer debts, then you must
     file the Statement of Exemption from Presumption of Abuse Under § 707(b)(2) with the appropriate box in Part
     I checked.


     Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period and/or Chapter
     13 Calculation of Your Disposable Income is required to be filed within 14 days of the date of the filing of
     the bankruptcy petition by Federal Rule of Bankruptcy Procedure 1007 and 11 USC Section 521(a)(1).


     Chapter 11 Statement of Your Current Monthly Income is required to be filed within 14 days of the date of
     the filing of the bankruptcy petition by Federal Rule of Bankruptcy Procedure 1007 and 11 USC Section
     521(a)(1).


     Declaration of Employer Payments with all pay stubs received from any employer in the 60 days before the
     filing of the petition required to be filed within 14 days of the date of the filing of the bankruptcy petition
     by Local Bankruptcy Rule 1007−1 and Federal Rule of Bankruptcy Procedure 1007 and 11 USC Section
     521(a)(1). Must be filed by both debtors if a joint petition was filed.


     Chapter 13 Plan required to be filed within 14 days of the date of the filing of the bankruptcy petition by
     Federal Rule of Bankruptcy Procedure 3015.


     OTHER:



Date: July 17, 2018

Address of the Bankruptcy Clerk's Office:                   Clerk of the Bankruptcy Court:
U.S. Bankruptcy Court, Arizona
230 North First Avenue, Suite 101                           George Prentice
Phoenix, AZ 85003−1727
Telephone number: (602) 682−4000                            By: Sharon L, Deputy Clerk
www.azb.uscourts.gov                                        Phone: 602−682−4900
